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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW HAMPSHIRE

____________________________________
                                    )
MICHAEL SEAN SPEIGHT,               )
                                    )
                Plaintiff,          )
                                    )
v.                                  )                    Case No. 1:24-cv-00055-LM-AJ
                                    )
AMANDA KAELBLEIN,                   )
MICHAEL KAELBLEIN,                  )
NANCY KAELBLEIN,                    )
JUDGE GEORGE PHELAN, and            )
ERIC STEPHAN,                       )
                                    )
                 Defendants.        )
____________________________________)

           DEFENDANTS MICHAEL KAELBLEIN AND NANCY KAELBLEIN’S
                           MOTION TO DISMISS

       Defendants Michael Kaelblein and Nancy Kaelblein, by and through its undersigned

counsel and pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(2), 12(b)(4), 12(b)(5)

and 12(b)(6), respectfully moves the Court for an order dismissing all claims against them for

lack of personal and subject matter jurisdiction, and failure to state a claim.

       In further support of this Motion, Defendants Michael Kaelblein and Nancy Kaelblein

repeat and incorporate by reference their Memorandum of Law in Support to Their Motion to

Dismiss.

        WHEREFORE, Defendants Michael Kaelblein and Nancy Kaelblein respectfully

request that this Court:

       A.      Allow this Motion and dismiss Plaintiff’s claims against them; and

       B.      Grant such other and further relief as equity and justice require.
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                                             Respectfully submitted,
                                             Michael Kaelblein and Nancy Kaelblein
                                             By their Attorneys
                                             Welts, White & Fontaine, P.C.


Date: 6/17/2024                              By:     /s/ Nicole Fontaine Dooley
                                                     Nicole Fontaine Dooley, Esq.
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                              CERTIFICATE OF SERVICE

        I, Nicole Fontaine Dooley, hereby certify that on June 17, 2024, this document was filed
through the ECF system and sent electronically to the registered participants as identified on the
notice of electronic filing (NEF) and by first class mail to non-registered participants.

                                                     /s/ Nicole Fontaine Dooley
                                                     Nicole Fontaine Dooley
